                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 23-60243-jpg
Inez Avanell Crowe                                                                                                     Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0647-6                                                  User: lbald                                                                 Page 1 of 2
Date Rcvd: Mar 07, 2023                                               Form ID: pdf700ca                                                         Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 09, 2023:
Recip ID                 Recipient Name and Address
db                     + Inez Avanell Crowe, 2629 Lexington Ave, Mansfield, OH 44904-1423
27451348                 AscensionPoint Recovery Services, 200 Coon Rapids Blvd, Minneapolis, MN 55433-5876
27451356               + Donald E. Crowe, 2629 Lexington Ave., Mansfield, OH 44904-1423
27451357               + EMBCC, Mid Ohio Emergency Group LLC, PO Box 650763, Dallas, TX 75265-0763
27451362                 Medicount Managment Inc, PO Box 371863, Pittsburgh, PA 15250-7863
27451363               + Speedway/SuperAmerica, Attn: Bankruptcy, Po Box 1590, Springfield, OH 45501-1590
27451366                 Wells Fargo Card Services, PO BOX 77053, Minneapolis, MN 55480-7753

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
27451347               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Mar 07 2023 21:05:36      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
27451349               + Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Mar 07 2023 20:51:00      Bank of America, Attn: Bankruptcy, 4909
                                                                                                                  Savarese Circle, Tampa, FL 33634-2413
27451350                  Email/Text: cms-bk@cms-collect.com
                                                                                        Mar 07 2023 20:52:00      Capital Management Services, LP, PO Box 120,
                                                                                                                  Buffalo, NY 14220-0120
27451351               + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Mar 07 2023 20:54:41      Capital One, PO Box 31293, Salt Lake City, UT
                                                                                                                  84131-0293
27451352               + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Mar 07 2023 20:55:16      Capital One -Walmart Mastercard, P O Box 4069,
                                                                                                                  Carol Stream, IL 60197-4069
27451355               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 07 2023 21:05:36      Citi/Sears, Citibank/Centralized Bankruptcy, Po
                                                                                                                  Box 790034, St Louis, MO 63179-0034
27451361               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 07 2023 21:05:32      Macys/fdsb, Attn: Bankruptcy, 9111 Duke
                                                                                                                  Boulevard, Mason, OH 45040
27451358                  Email/Text: collecadminbankruptcy@fnni.com
                                                                                        Mar 07 2023 20:52:00      First National Bank, Attn: Bankruptcy, P.O. Box
                                                                                                                  3128, Omaha, NE 68103
27451359                  Email/Text: collecadminbankruptcy@fnni.com
                                                                                        Mar 07 2023 20:52:00      First National Bank Of Omaha, Attn: Bankruptcy,
                                                                                                                  P.O. Box 3128, Omaha, NE 68103
27451360               + Email/Text: bankruptcy@huntington.com
                                                                                        Mar 07 2023 20:52:00      Huntington National Bank, Attn: Bankruptcy, Po
                                                                                                                  Box 340996, Columbus, OH 43234-0996
27451354                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Mar 07 2023 20:54:55      Chase Mortgage, Chase Records Center-
                                                                                                                  Bankruptcy, Mail Code LA4 5555 700 Kansas Ln,
                                                                                                                  Monroe, LA 71203
27451353                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Mar 07 2023 20:54:53      Chase Card Services, Attn: Bankruptcy, P.O.
                                                                                                                  15298, Wilmington, DE 19850
27452134               + Email/PDF: rmscedi@recoverycorp.com
                                                                                        Mar 07 2023 21:05:34      PRA Receivables Management, LLC, PO Box
                                                                                                                  41021, Norfolk, VA 23541-1021
27451364               + Email/PDF: gecsedi@recoverycorp.com
                                                                                        Mar 07 2023 20:55:17      Synchrony Bank/JCPenney, Attn: Bankruptcy, Po




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District/off: 0647-6                                               User: lbald                                                            Page 2 of 2
Date Rcvd: Mar 07, 2023                                            Form ID: pdf700ca                                                    Total Noticed: 23
                                                                                                            Box 965060, Orlando, FL 32896-5060
27451365              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Mar 07 2023 20:55:00     Synchrony Bank/Sams Club, Attn: Bankruptcy, Po
                                                                                                            Box 965060, Orlando, FL 32896-5060
27451367              + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Mar 07 2023 20:55:17     Wells Fargo Jewelry Advantage, Attn:
                                                                                                            Bankruptcy, Po Box 10438, Des Moines, IA
                                                                                                            50306-0438

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr              *+            PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541-1021

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 09, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 6, 2023 at the address(es) listed
below:
Name                             Email Address
Jonathon Carl Elgin
                                 on behalf of Debtor Inez Avanell Crowe jc@jcelgin.com elgin.jonathonc.r116646@notify.bestcase.com


TOTAL: 1




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